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Pennington, Kim

From:                                   Baron, Katherine
Sent:                                   Thursday, April 20, 2023 1:54 PM
To:                                     Linneman, J. Robert
Cc:                                     Heenan, Scott; Price, Shannon; Kim Rutowski
Subject:                                Berberich v. City of Cincinnati, et al., 1:22-cv-00301
Attachments:                            Interrogatories and RFPD (00382334xC2130).PDF; Interrogatories and RFPD
                                        (00377500xC2130).DOCX; Medical Authorization Berberich.pdf



Good afternoon-

Attached please find a copy of the City’s First Set of Interrogatories and Request for Production of
Documents Directed to Plaintiff. Thanks!

Best wishes,
Katey

                      city or
Cincinnati
                        LAW

Katherine Baron
Assistant City Solicitor
Law Department – Civil LItigation
513/352-4705 (o) | 513/352-5217 (fax)
Katherine.Baron@Cincinnati-oh.gov


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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION

KATHLEEN BERBERICH,                    :       Case No. 1:22-cv-00301
                                       :
       Plaintiff,                      :       Judge Matthew W. McFarland
                                       :
-vs-                                   :       THE CITY’S FIRST SET OF
                                       :       INTERROGATORIES AND
CITY OF CINCINNATI, et al.,            :       REQUEST FOR PRODUCTION
                                       :       OF DOCUMENTS DIRECTED TO
       Defendants.                     :       PLAINTIFF

       Defendants City of Cincinnati, P.O. J ’O’Brien, and Lt. Hennie (hereinafter

collectively the “City”) submit the following Interrogatories and Requests for

Production of Documents to be answered by Plaintiff Kathleen Berberich (hereinafter

“Plaintiff”) pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure. Said

Interrogatories are to be answered under oath and the responses to Interrogatories

and Requests for Production of Documents are to be produced at the City Solicitor’s

Office, 801 Plum Street, Room 214, Cincinnati, Ohio 45202 within thirty days.

Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, this document request

shall be deemed continuing so as to require supplemental production if additional

information and documents become known or are obtained between the time the

documents are produced and the time of the trial of this matter.

       These Interrogatories are directed to facts and information within the

possession, custody, control, and/or knowledge of the Plaintiff and the Plaintiff’s

attorney. The City also hereby includes a Request for Production of Documents and

requests that the Plaintiff produce for inspection and copying all documents in the


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possession, custody, or control of Plaintiff or Plaintiff’s attorney, or otherwise

available to the Plaintiff or the Plaintiff’s attorney, which are responsive to the

requests contained herein.

                      INSTRUCTIONS FOR ANSWERING

1. You are instructed to respond to the enclosed Interrogatories and Request for

   Production of Documents (collectively “Discovery Requests”) in accordance with

   the Federal Rules of Civil Procedure. If a Discovery Request cannot be answered

   in full, answer to the extent possible and state the reason that you cannot answer

   in full.

2. You are under a continuing duty to supplement your responses as requested

   between the time of service of these Discovery Requests and the time set for trial.

   If you know or later learn that your response to a particular Discovery Request is

   incorrect, you are under a duty seasonably to correct the response. You are also

   under a duty seasonably to supplement your response with respect to any question

   directly addressed to (a) the identity and location of persons having knowledge of

   discoverable matters, and (b) the identity of each person expected to be called as

   an expert witness at trial and the subject matter on which that person is expected

   to testify.

3. You must answer each Interrogatory separately and fully in writing under oath.

   Where an Interrogatory calls for an answer in more than one part, the parts

   should be separated in the answer so that they are clearly understandable.




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4. Should you object to any Discovery request in lieu of answering or producing the

   requested documents, you must state the reason or reasons for your objection.

5. If you withhold information subject to these Discovery Requests on the basis of a

   claim of privilege or other claim of protection, you must make such a claim

   expressly and support the claim with a description of the nature of the documents,

   communications, or things not produced.

6. Should you withhold any document or part of a document on the basis of any claim

   of privilege or other claims of protection, you must identify the nature of the claim

   of privilege or other protection being asserted, and also identify the type, subject

   matter, date, author, addressee(s), recipient(s), and present location of the

   document, as well as the relationships between the author and the addressee(s)

   or recipient(s) if those relationships are not otherwise apparent.

7. In the event that you state that a document responsive to a Discovery Request is

   no longer in your possession, custody, or control, you must identify the type of

   document, the subject matter and contents of the document, the date, author,

   address(s) and recipient(s) of the document, the date of destruction or loss of the

   document, the reason for destruction or loss of the document, and the identity of

   all persons believed to have a copy of the document or the original document.

                                    DEFINITIONS

1. The words “you,” “your,” or “Plaintiff” as used herein refer to Plaintiff, her

   agents, and representatives, and any and all persons acting or purporting to act




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   on Plaintiff’s behalf for any purpose whatsoever, including its employees, agents,

   accountants, attorneys, contractors, or other representatives.

2. The words “person” or “persons” means all natural persons, proprietorships,

   corporations, limited liability companies, partnerships, trusts, joint ventures,

   groups, associations, organizations, companies, estates, trusts, public agencies,

   departments, bureaus, boards, or other business entities or enterprises of any kind

   or nature, including predecessors and successors. The use of the singular shall be

   deemed to include the plural and the use of one gender shall include all others, as

   appropriate in the context of the Interrogatories or Request for Production.

3. “City” means and includes the City of Cincinnati, and its employees, elected

   officials, agents, and representatives.

4. “Defendant” or “Defendants” refers to the City of Cincinnati, P.O. J. O’Brien,

   and Lt. Hennie, their agents, representatives, and any and all persons acting or

   purporting to act on their behalf for any purpose whatsoever, including its

   employees, agents, accountants, attorneys, contractors, or other representatives.

5. The term “document” is used in the broadest possible sense and means, without

   limitation, any written, printed, typed, photostatic, recorded, electronic, computer

   generated or otherwise reproduced communication or representation, whether

   comprised of letters, works, numbers, pictures, sounds, or symbols, or any

   combination thereof. This definition includes copies of duplicates or documents

   contemporaneously or subsequently created which have any non-conforming notes

   or other markings. Without limiting the generality of the foregoing “document”



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   includes but is not limited to, all correspondence, memoranda, notes, records,

   letters, envelopes, telegrams, messages, studies, analyses, contracts, agreements,

   projections, estimates, working papers, summaries, statistical statements,

   financial statements or work papers, accounts, analytical reports, reports and/or

   summaries of investigations, opinions or reports of consultants, opinions or

   reports of accountants, other reports, trade letters, press releases, comparisons,

   books, diaries, articles, magazines, newspapers, booklets, brochures, pamphlets,

   circulars, bulletins, notices, forecasts, drawings, diagrams, instructions, minutes

   of meetings or other communications of any kind, including inter and intra office

   communications     whether    by   electronic   means   or   computer   generated

   questionnaires, and surveys, charts, graphs, photographs, phonographs,

   recordings, films, tapes, discs, data cells, drums, printouts, all other date

   compilations from which information can be obtained (translated if necessary by

   the Defendant through detection devised into usable form), any preliminary

   versions, drafts of revisions or any of the foregoing and other writings or

   documents of whatever description or kind, whether produced or authored by the

   City or anyone else including non-identical copies of the foregoing.

6. The words “identify” and “identity” when used with respect to an individual

   means to state the full name, present and last known address of each such person,

   present and last known telephone number of each such person, present and last

   known email address of each such person, the present and last known position

   and business affiliation of each such person, each such person’s present position



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   and/or business affiliation. When used with respect to a corporation, limited

   liability company, partnership, or other recognized legal entity, the words

   “identify” and “identity” mean to state the legal entity, the words “identify” and

   “identity” mean to state the legal entity’s full name, date, and state of

   incorporation, formation, or organization, and the address of its principal place of

   business. When used with respect to a person other than an individual or legal

   entity, the words “identify” or “identity” mean to state the official name or

   designation and address of each such person.

7. When used with respect to a document, the words “identity” and “identify”

   mean to state the date of the document, the type of document (e.g., letter,

   memorandum, telegram, chart, photograph, plat, deed, sound reproduction, etc.),

   the author and address, the present location of the document, the custodian of the

   document and a description of the contents of the document.

8. The terms “relate to” and “relating to” request everything which in any way

   explicitly or implicitly refers to, or could reasonably be construed to refer to, the

   subject matter of the Interrogatory or request for Production of Documents.

                                INTERROGATORIES

1. Identify who is responding and provide his or her date of birth and social security

   number.

ANSWER:




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2. State whether you have ever been a plaintiff, defendant, or witness in a civil or

   criminal case, including the case name, case number, jurisdiction/location of the

   case, nature of the litigation, and outcome of the case (judgment, settlement,

   dismissal, etc.).

ANSWER:



3. Identify all witnesses you may call to testify at trial and state the subject matter

   of his or her testimony.

ANSWER:



4. Identify all exhibits you may introduce at trial.

ANSWER:



5. Identify all persons who have knowledge that is adverse or unfavorable to your

   claim for liability or damages in any way.

ANSWER:



6. Identify all documents or evidence that is adverse or unfavorable to your claim for

   liability or damages in any way.

ANSWER:




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7. Identify all persons who you have communicated with about any of the allegations

   in the Complaint with.

ANSWER:



8. Identify all expert witnesses you may call to testify at trial.

ANSWER:



9. Identify all expert witnesses you have had contact with but do not expect to testify

   at trial.

ANSWER:



10. Identify all witnesses to the May 30, 2020, use of force alleged in the Complaint

   between Plaintiff and the City regardless of whether you intend to call him or her

   to testify.

ANSWER:

11. Describe your interactions with the police officers that you approached on the

   grassy median of Central Parkway including, but not limited to, what you and the

   officers said before, during, and after you were placed under arrest.

ANSWER:




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12. Identify all documents or evidence that supports your claim that the City

   unreasonably seized Plaintiff and lacked probable cause to arrest Plaintiff.

ANSWER:



13. Identify all persons with knowledge of or documents related to your allegation

   that “Defendant City has a history of failing to adequately train, supervise,

   monitor, and discipline officers,” which resulted in an alleged violation of

   Plaintiff’s Constitutional Rights.

ANSWER:



14. Identify all policies, practices, and customs of the City that you allege were the

   “moving force” behind Plaintiff’s alleged wrongful arrest and any other violation

   of Plaintiff’s rights.

ANSWER:



15. Identify all person with knowledge of or documents that support your allegation

   that “[i]n drafting, enactment, execution and enforcement of an unlawful curfew,

   the Defendants acted with a retaliatory motive against Berberich on account of

   Berberich’s act of protesting against and petitioning the government for change.”

ANSWER:




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16. Identify that staff at the Hamilton County Justice Center that (1) you informed

   you had been exposed to pepper dust and were experiencing distress, (2) refused

   to allow you access to wash out your eyes and mouth, and (3) did not permit you

   to see a nurse. Given that the Justice Center is owned and operated by Hamilton

   County, please specify which of these individuals in anyway was employed by,

   acted on behalf of, or otherwise represented the City of Cincinnati.



ANSWER:



17. State the injuries and damages you sustained as a result of the incident alleged

   in the Complaint, including the amount of damages and whether damages are

   economic or non-economic.

ANSWER:



18. Identify all healthcare professionals (e.g., hospitals, clinics, physicians,

   chiropractors, mental health professionals, etc.) that provided you with treatment

   or consultation for any physical or psychological condition or complaint at any

   point during the last the last ten years. Include the dates of treatment or

   consultation in your response.

ANSWER:




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19. If you are making a claim for medical expenses in this action, then state the dollar

   amounts corresponding to each entity that provided the services, separately

   identifying any out-of-pocket expenses paid by you or on your behalf (e.g., any

   deductible or co-payment).

ANSWER:



20. If any of the payment of your medical expenses has been made by a third-party

   including Medicare or Medicaid, identify the third party and the dollar amounts

   paid, and state whether the third party has a right of subrogation or whether there

   is otherwise any obligation on your part to repay the amount to the third party.

ANSWER:



21. Regardless of whether you filed any claim following the incident, identify each

   insurance policy that entitled you to receive benefits for injuries or loss, state the

   limits of each policy, and state who paid the premiums. Use the date of the

   incident as the date of coverage or potential coverage.

ANSWER:



22. Regarding your personal injuries, identify and state the dates of service that each

   healthcare professional or entity provided you with any service. This includes each

   attending physician and/or consulting physician who provided you with an

   evaluation, treatment, or consultation; each clinic or laboratory that performed



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   any X-rays, MRIs, or other tests; and each hospital and/or other facility that

   provided you with either inpatient or outpatient treatment.

ANSWER:



23. If you sustained any other injury or illness since the incident, then state the injury

   or illness, the date you were injured or become ill, identify each healthcare

   professional that provided services (e.g., hospitals, clinics, laboratories,

   physicians, chiropractors, mental health professionals, etc.…) and the dates of

   service.

ANSWER:



24. If you are still treating with any healthcare provider as a result of the incident,

   then identify the provider and state the treatment and frequency.

ANSWER:



25. List all prescription medications you were prescribed in the last ten years and the

   prescribed dosage for each, even if you are no longer taking the medication.

ANSWER:

                 REQUEST FOR PRODUCTION OF DOCUMENTS

1. Produce all documents you relied on, reviewed, or considered in responding to the

   above Interrogatories.

RESPONSE:



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2. Produce all exhibits or documents you may utilize at trial.

RESPONSE:



3. Produce all documents identified in the above Interrogatories that have not been

   otherwise produced.

RESPONSE:



4. Produce all documents identified in your initial disclosures that have not been

   otherwise produced.

RESPONSE:



5. Produce all photographs, videotapes, electronic recordings of any kind, reports,

   expenses, receipts, and any other documentation relating to the claims by Plaintiff

   as a result of the incident described in the Complaint that have not been otherwise

   produced, including but not limited to any third-party recordings that are in your

   possession.

RESPONSE:



6. Produce all documents of medical records and reports including but not limited to

   any physician reports.

RESPONSE:



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7. Produce a copy of any and all reports or records of any and all expert witnesses

   you have contacted.

RESPONSE:



8. Produce a copy of all healthcare provider bills or insurance statements of any kind

   documenting any and all expenses that are alleged to be the result of this incident.

RESPONSE:



9. Please complete and sign a separate Authorization to Disclose Health Information

   form for each and every healthcare provider referenced in Plaintiff’s response to

   the accompanying Interrogatories. (Please make additional copies of the

   accompanying form as necessary).

RESPONSE:

Respectfully submitted,

EMILY SMART WOERNER (0089349)
City Solicitor

/s/ Katherine C. Baron___                      /s/ Kimberly A. Rutowski
Katherine C. Baron (0092447)                   Kimberly A. Rutowski (0076653)
Scott M. Heenan (0075734)                      Lazarus & Lawson, LLC
Shannon D. Price (0100744)                     30 Garfield Place, Suite 915
Assistant City Solicitor                       Cincinnati, Ohio 45202
801 Plum Street, Room 214                      Phone: (513) 721-7300
Cincinnati, Ohio 45202                         Fax: (513) 721-7008
Phone: (513) 352-4705                          krutowski@hllmlaw.com
Fax: (513) 352-1515                            Attorney for P.O. J. O’Brien
Katherine.baron@cincinnati-oh.gov              and Lt. Hennie in their
Scott.heenan@cincinnati-oh.gov                 individual capacity


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Shannon.price@cincinnati-oh.gov
Trial Counsel for the City

                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served via email on this 20th

day of April 2023.

J. Robert Linneman
H. Louis Sirkin
SANTEN & HUGHES
600 Vine Street, Suite 2700
Cincinnati, Ohio 45202
(513) 721-4450
jrl@santenhughes.com
Trial Counsel for Plaintiff

                                              /s/ Katherine C. Baron__
                                              Katherine C. Baron




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                                     AUTHORIZATION TO DISCLOSE HEALTH INFORMATION

The following individual or organization is authorized to make the disclosure: Kathleen Berberich
I hereby authorize the above-stated organization or individual to release to Katherine Baron, and any employee of City of
Cincinnati Solicitor’s Office, copies of all information comprising the entire record for the individual named above, including,
but not limited to:

Final Diagnoses                                      Operative Reports                             Emergency Room Treatments
Discharge Summaries                                  Pathology Reports                             Therapy Notes
Histories                                            Progress Notes                                Clinical Notes
Physical Examinations                                Physician's Orders                            Medication Records
Consultation Reports                                 Office Notes                                  Evaluations
Diagnostic Test Reports                              All computer entries/notes/                   HIV/AIDS Results
Diagnostic Images                                     electronic mail                              Correspondence regarding patient
Billing/Account Records                              Patient forms and                             Pathology Specimens
Insurance Records                                    questionnaires

I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immune deficiency syndrome (AIDS), information concerning testing or treatment of AIDS and AIDS-related conditions, drug
or alcohol abuse, human immunodeficiency virus (HIV), drug-related conditions, alcoholism and/or psychiatric/psychological
conditions, including specifically, but not limited to, those records contemplated by 42 U.S.C. ' 290 dd-2, 42 U.S.C. ' 290 dd-
3 and 42 U.S.C. ' 290 ee-3. This information may be disclosed to the above-named individual or organization for the purpose
of the processing of a claim for bodily injury, emotional harm, or other claim for damages. Review of the records is also hereby
authorized.

To assist in the identification and location of these records, I am providing the following information:

                Name:                            Kathleen Berberich                    Records from 5/1/2018
                Social Security Number:                                                To ____PRESENT_________________
                Date of Birth                    11/16/2000                            Present (to be filled in by Solicitor’s Office)

I hereby authorize the use of a photocopy of this release as an original.

I understand I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do
so in writing and present my written revocation to the health information management department. I understand that revocation
will not apply to information that has already been released in response to this authorization. I understand that revocation will
not apply to my insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless
otherwise revoked, this authorization will expire on June 1, 2022 the following date, event or condition: the conclusion of the
claim. If I fail to specify an expiration date, event or condition, this authorization will expire in six (6) months.

I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I
understand that the organization or individual identified above cannot condition treatment, payment, enrollment or eligibility for
benefits on whether I sign this authorization. I understand I may inspect or copy the information to be used or disclosed, as
provided in C.F.R. 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-
disclosure, and the information may not be protected by federal confidentiality rules. If I have questions about disclosure of my
health information, I can contact the Privacy Officer or other individual at the organization identified above.

___________________________________________                                 __________________________________________
Witness                                                                     Patient or Patient Representative

                                                                            If signed by legal representative, relationship to patient:

                                                                            __________________________________________

                                                                            Date: ______________________________________
**This release is intended to comply with the Health Information Portability and Accountability Act (HIPAA), the individual forms of health care
providers or health care institutions, including, but not limited to; TriHealth hospitals/physician practices, Kettering Network hospitals/physician
practices, Mercy Health hospitals/physician practices, et al. Acceptance of this form is required to avoid the expense and inconvenience of
complying with an institution=s separate form, or requiring you to respond to a subpoena for the information.
